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                                   U.S. District Court
                              District of Colorado (Denver)
                      CIVIL DOCKET FOR CASE#: 1:15:-cv-01581-JLK

                                                                  .            -~ ~?)      3967
 Fayeulle et al v. Cigna Corporation et al                  Date Filed: 07/24/2015
 Assigned to: Judge John L. Kane                            Date Terminated: 07/21/2016
 Cause: 18:1962 Racketeering (RICO) Act                     Jury Demand: Plaintiff
                                                            Nature of Suit: 4 70 Racketeer/Corrupt
                                                            Organization
                                                            Jurisdiction: Federal Question
 Plaintiff
 Barbara Fayeulle                             represented by D. Brian Hufford
 on behalf of all others similarly situated                  Zuckerman Spaeder, LLP-New York
                                                             399 Park Avenue
 TERMINATED: 0612912016                                      14th Floor
                                                             New York, NY 10022
                                                             212-704-9600
                                                             Fax: 212-704-4256
                                                             Email: dbhufford@zuckennan.com
                                                             ATTORNEY TO BE NOTICED

                                                           Jason S. Cowart
                                                           Zuckerman Spaeder, LLP-New York
                                                           399 Park Avenue
                                                           14th Floor
                                                           New York, NY 10022
                                                           212-704-9600
                                                           Fax: 212-704-4256
                                                           Email: jcowart@zuckennan.com
                                                           ATTORNEY TO BE NOTICED

                                                           Jason Matthew Knott
                                                           Zuckerman Spaeder, LLP-DC
                                                           1800 M Street, N.W.
                                                           #1000
                                                           Washington, DC 20036
                                                           202-778-1813
                                                           Fax: 202-778-5549
                                                           Email: jknott@zuckerman.com
                                                           ATTORNEY TO BE NOTICED
 Plaintiff
 Matthew Gentrup                              represented by D. Brian Hufford
 on behalf of all others similarly situated                  (See above for address)
                                                             ATTORNEY TO BE NOTICED
 TERMINATED: 0612912016



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                                                            Jason S. Cowart
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Jason Matthew Knott
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED
 Plaintiff
 Carol A. Lietz                              represented by Jason Matthew Knott
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED


 v.
 Defendant
 Cigna Corporation                           represented by Carrie Jean Bodner
                                                            Kirkland & Ellis, LLP-New York
                                                            601 Lexington Avenue
                                                            40th Floor
                                                            New York, NY 10022
                                                            212-446-5912
                                                            Fax: 212-446-6460
                                                            Email: carrie.bodner@kirkland.com
                                                            ATTORNEY TO BE NOTICED

                                                           Edwin Packard Aro
                                                           Arnold & Porter LLP-Denver
                                                           370 Seventeenth Street
                                                           Suite 4400
                                                           Denver, CO 80202-1370
                                                           303-863-1000
                                                           Fax: 303-832-0428
                                                           Email: ed.aro@aporter.com
                                                           ATTORNEY TO BE NOTICED

                                                           Jerad A. West
                                                           Lambdin & Chaney, LLP
                                                           4949 South Syracuse Street
                                                           Suite 600
                                                           Denver, CO 80237
                                                           303-799-8889
                                                           Fax: 303-799-3700
                                                           Email: jwest@lclaw.net
                                                           TERMINATED: 0912912015

                                                           Joshua Simon
                                                           Kirkland & Ellis, LLP-New York
                                                           601 Lexington Avenue
                                                           40th Floor



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                                                               New York, NY 10022
                                                               212-446-4789
                                                               Fax: 212-446-4900
                                                               Email: j simon@kirkland.com
                                                               ATTORNEY TO BE NOTICED

                                                               Lelia Kathleen Chaney
                                                               Lambdin & Chaney, LLP
                                                               4949 South Syracuse Street
                                                               Suite 600
                                                               Denver, CO 80237
                                                               303-799-8889
                                                               Fax: 303-799-3700
                                                               Email: kchaney@lclaw.net
                                                               TERMINATED: 0912912015

                                                               Warren Haskel
                                                               Kirkland & Ellis, LLP-New York
                                                               601 Lexington A venue
                                                               40th Floor
                                                               New York, NY 10022
                                                               212-446-5927
                                                               Fax:212-446-6460
                                                               Email: warren.haskel@kirkland.com
                                                               ATTORNEY TO BE NOTICED

 Defendant
 Connecticut General Life Insurance            represented by Carrie Jean Bodner
 Company                                                      (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                               Edwin Packard Aro
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Jerad A. West
                                                               (See above for address)
                                                               TERMINATED: 0912912015

                                                              Joshua Simon
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                               Lelia Kathleen Chaney
                                                               (See above for address)
                                                               TERMINATED: 0912912015

                                                              Warren Haskel
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED



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 Defendant
 Cigna Health and Life Insurance                represented by Carrie Jean Bodner
 Company                                                       (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Edwin Packard Aro
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Jerad A. West
                                                               (See above for address)
                                                               TERMINATED: 0912912015

                                                               Joshua Simon
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Lelia Kathleen Chaney
                                                               (See above for address)
                                                               TERMINATED: 0912912015

                                                               Warren Haskel
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

 Defendant
 Columbine Chiropractic Plan, LLC              represented by David S. Chipman
 TERMINATED: 0612912016                                       Chipman Glasser, LLC
 doing business as                                            2000 South Colorado Boulevard
 Columbine Health Plan                                        Tower One
 TERMINATED: 0612912016                                       Suite 7500
                                                              Denver, CO 80222
                                                              303-578-7580
                                                              Fax: 303-578-7590
                                                              Email: dchipman@chipmanglasser.com

                                                               ATTORNEY TO BE NOTICED

                                                              Eric Job Seese
                                                              Chipman Glasser, LLC
                                                              2000 South Colorado Boulevard
                                                              Tower One
                                                              Suite 7500
                                                              Denver, CO 80222
                                                              303-578-5780
                                                              Fax: 303-578-5790
                                                              Email: jseese@chipmanglasser.com
                                                              ATTORNEY TO BE NOTICED




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                                                            Kerry Jean LeMonte
                                                            Brownstein Hyatt Farber Schreck, LLP-
                                                            Denver
                                                            410 17th Street
                                                            Suite 2200
                                                            Denver, CO 80202-4432
                                                            303-223-1100
                                                            Fax: 303-223-1111
                                                            Email: klemonte@bhfs.com
                                                            TERMINATED: 0911812015

                                                           Richard B. Benenson
                                                           Brownstein Hyatt Farber Schreck, LLP-
                                                           Denver
                                                           410 17th Street
                                                           Suite 2200
                                                           Denver, CO 80202-4432
                                                           303-223-1100
                                                           Fax:303-223-1111
                                                           Email: rbenenson@bhfs.com
                                                           TERMINATED: 0911812015

 Defendant
 American Specialty Health                   represented by Andrew Z. Edelstein
 Incorporated                                               Mayer Brown LLP-Los Angeles
                                                            350 South Grand Avenue
                                                            25th Floor
                                                            Los Angeles, CA 90071-1503
                                                            213-229-9500
                                                            Fax:213-625-0248
                                                            Email: aedelstein@mayerbrown.com
                                                            ATTORNEY TO BE NOTICED

                                                           Elizabeth D. Mann
                                                           Mayer Brown LLP-Los Angeles
                                                           350 South Grand Avenue
                                                           25th Floor
                                                           Los Angeles, CA 90071-1503
                                                           213-229-9500
                                                           Fax:213-625-0248
                                                           Email: emann@mayerbrown.com
                                                           ATTORNEY TO BE NOTICED

                                                           Zachariah J. DeMeola
                                                           Baker & Hostetler, LLP-Denver
                                                           1801 California Street
                                                           Suite 4400
                                                           Denver, CO 80202
                                                           303-861-0600
                                                           Fax: 303-861-7805



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                                                               Email: zdemeola@bakerlaw.com
                                                               ATTORNEY TO BE NOTICED

 Defendant
 American Specialty Health Group,               represented by Andrew Z. Edelstein
 Inc.                                                          (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Elizabeth D. Mann
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Zachariah J. DeMeola
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED


  Date Filed      #    Docket Text
  07/24/2015      l    COMPLAINT against Cigna Corporation, Cigna Health and Life Insurance
                       Company, Columbine Chiropractic Plan, LLC, Connecticut General Life
                       Insurance Company (Filing fee$ 400,Receipt Number 1082-4521361)Attorney
                       Jason Matthew Knott added to party Barbara Fayeulle(pty:pla), Attorney Jason
                       Matthew Knott added to party Matthew Gentrup(pty:pla), filed by Barbara
                       Fayeulle, Matthew Gentrup. (Attachments: # 1 Summons Cigna Corp., # ~
                       Summons Connecticut General Life Ins. Co., # 2 Summons CIGNA Health &
                       Life Ins. Co., # 1. Summons Columbine Chiropractic Plan, LLC, # .:5. Civil
                       Cover Sheet)(Knott, Jason) (Entered: 07/24/2015)
 07/27/2015       2    Case assigned to Judge John L. Kane and drawn to Magistrate Judge Kathleen
                       M. Tafoya. Text Only Entry (sphil,) (Entered: 07/27/2015)
 07/27/2015       2 SUMMONS issued by Clerk. Magistrate Judge Consent form issued pursuant to
                    Local Rule (Attachments:# l Magistrate Judge Consent Form) (sphil,)
                       (Entered: 07 /27/2015)
 08/13/2015       :±   NOTICE of Entry of Appearance of L. Kathleen Chaney and Jerad A. West by
                       Lelia Kathleen Chaney on behalf of Cigna Corporation, Cigna Health and Life
                       Insurance Company, Connecticut General Life Insurance CompanyAttorney
                       Lelia Kathleen Chaney added to party Cigna Corporation(pty:dft), Attorney
                       Lelia Kathleen Chaney added to party Cigna Health and Life Insurance
                       Company(pty:dft), Attorney Lelia Kathleen Chaney added to party Connecticut
                       General Life Insurance Company(pty:dft) (Chaney, Lelia) (Entered:
                       08/13/2015)
 08/14/2015            NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES:
                       JARED WEST has failed to comply with D.C.COLO.LCivR5.l(a) and 4.3(c) of
                       the Electronic Case Filing Procedures (Criminal Cases) which mandate that the
                       s/ signature must match the filers name on the account for which the login and
                       password are registered. Failure in the future to follow these procedures may
                       lead to mandatory CM/ECF training, or action by the court. :!. Attorney has not
                       signed the document or used his login. (Text Only Entry) (evana,) (Entered:



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                        08/14/2015)

  08/14/2015        5 NOTICE of Entry of Appearance by Jerad A. West on behalf of Cigna
                      Corporation, Cigna Health and Life Insurance Company, Connecticut General
                      Life Insurance CompanyAttorney Jerad A. West added to party Cigna
                      Corporation(pty:dft), Attorney Jerad A. West added to party Cigna Health and
                      Life Insurance Company(pty:dft), Attorney Jerad A. West added to party
                      Connecticut General Life Insurance Company(pty:dft) (West, Jerad) (Entered:
                      08/14/2015)
  08/14/2015       _§   MOTION for Extension of Time to File Answer or Otherwise Respond by
                        Defendants Cigna Corporation, Cigna Health and Life Insurance Company,
                        Connecticut General Life Insurance Company. (West, Jerad) (Entered:
                        08/14/2015)
  08/14/2015       1 CORPORATE DISCLOSURE STATEMENT identifying Corporate Parent
                        Cigna Corporation for Cigna Health and Life Insurance Company, Connecticut
                        General Life Insurance Company. (West, Jerad) (Entered: 08/14/2015)
  08/14/2015       Ji NOTICE of Entry of Appearance by Warren Haskel on behalf of Cigna
                        Corporation, Cigna Health and Life Insurance Company, Connecticut General
                        Life Insurance CompanyAttorney Warren Haskel added to party Cigna
                        Corporation(pty:dft), Attorney Warren Haskel added to party Cigna Health and
                        Life Insurance Company(pty:dft), Attorney Warren Haskel added to party
                        Connecticut General Life Insurance Company(pty:dft) (Haskel, Warren)
                        (Entered: 08/14/2015)
  08/14/2015       .2 NOTICE of Entry of Appearance by Joshua Simon on behalf of Cigna
                        Corporation, Cigna Health and Life Insurance Company, Connecticut General
                        Life Insurance CompanyAttorney Joshua Simon added to party Cigna
                        Corporation(pty:dft), Attorney Joshua Simon added to party Cigna Health and
                        Life Insurance Company(pty:dft), Attorney Joshua Simon added to party
                        Connecticut General Life Insurance Company(pty:dft) (Simon, Joshua)
                        (Entered: 08/14/2015)
  08/14/2015      10    ORDER Granting fi the parties Joint Motion for Extension of Time to Answer
                        or Otherwise Respond re l Complaint, Cigna Corporation answer due
                        10/5/2015; Cigna Health and Life Insurance Company answer due 10/5/2015;
                        Columbine Chiropractic Plan, LLC answer due 10/5/2015; Connecticut General
                        Life Insurance Company answer due 10/5/2015. Should any Defendant file a
                        motion to dismiss, the Plaintiffs opposition(s) shall be due on or before
                        Monday, November 9, 2015. Any replies by Defendants in support of any
                        motions to dismiss shall be due on or before Tuesday, December 8, 2015, by
                        Judge John L. Kane on 8/14/2015.(evana,) (Entered: 08/14/2015)
 08/19/2015       lI    SUMMONS Returned Executed by All Plaintiffs. Cigna Corporation served on
                        7/29/2015, answer due 10/5/2015. (Knott, Jason) (Entered: 08/19/2015)
 08/19/2015       12    SUMMONS Returned Executed by Barbara Fayeulle, Matthew Gentrup. Cigna
                        Health and Life Insurance Company served on 7/29/2015, answer due
                        10/5/2015. (Knott, Jason) (Entered: 08/19/2015)
 08/19/2015       13    SUMMONS Returned Executed by Barbara Fayeulle, Matthew Gentrup.



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                       Columbine Chiropractic Plan, LLC served on 7/30/2015, answer due
                       10/5/2015. (Knott, Jason) (Entered: 08/19/2015)

  08/19/2015      14   SUMMONS Returned Executed by Barbara Fayeulle, Matthew Gentrup.
                       Connecticut General Life Insurance Company served on 7/29/2015, answer due
                       10/5/2015. (Knott, Jason) (Entered: 08/19/2015)

  08/19/2015      15   NOTICE of Entry of Appearance by Carrie Jean Bodner on behalf of Cigna
                       Corporation, Cigna Health and Life Insurance Company, Connecticut General
                       Life Insurance CompanyAttorney Carrie Jean Bodner added to party Cigna
                       Corporation(pty:dft), Attorney Carrie Jean Bodner added to party Cigna Health
                       and Life Insurance Company(pty:dft), Attorney Carrie Jean Bodner added to
                       party Connecticut General Life Insurance Company(pty:dft) (Bodner, Carrie)
                       (Entered: 08/19/2015)

  08/20/2015      16 NOTICE of Entry of Appearance by Jason S. Cowart on behalf of All Plaintiffs
                       Attorney Jason S. Cowart added to party Barbara Fayeulle(pty:pla), Attorney
                       Jason S. Cowart added to party Matthew Gentrup(pty:pla) (Cowart, Jason)
                       (Entered: 08/20/2015)

  09/02/2015      l1 NOTICE of Entry of Appearance ofRichard B. Benenson by Richard B.
                       Benenson on behalf of Columbine Chiropractic Plan, LLCAttorney Richard B.
                       Benenson added to party Columbine Chiropractic Plan, LLC(pty:dft)
                       (Benenson, Richard) (Entered: 09/02/2015)
 09/02/2015       11   NOTICE of Entry of Appearance of Kerry LeMonte by Kerry Jean LeMonte on
                       behalf of Columbine Chiropractic Plan, LLCAttorney Kerry Jean LeMonte
                       added to party Columbine Chiropractic Plan, LLC(pty:dft) (LeMonte, Kerry)
                       (Entered: 09/02/2015)
 09/03/2015       19   NOTICE of Entry of Appearance by D. Brian Hufford on behalf of All
                       Plaintiffs Attorney D. Brian Hufford added to party Barbara Fayeulle(pty:pla),
                       Attorney D. Brian Hufford added to party Matthew Gentrup(pty:pla) (Hufford,
                       D.) (Entered: 09/03/2015)
 09/16/2015       20   NOTICE of Entry of Appearance and Substitution of Counsel by David S.
                       Chipman on behalf of Columbine Chiropractic Plan, LLCAttorney David S.
                       Chipman added to party Columbine Chiropractic Plan, LLC(pty:dft) (Chipman,
                       David) Modified on 9/16/2015 ATTORNEY NOTIFIED TO FILE AS
                       MOTION TO WITHDRAW AND ENTRY OF APPEARANCE Ghawk, ).
                       (Entered: 09/16/2015)
 09/16/2015       21   NOTICE of Entry of Appearance by Eric Job Seese on behalf of Columbine
                       Chiropractic Plan, LLCAttorney Eric Job Seese added to party Columbine
                       Chiropractic Plan, LLC(pty:dft) (Seese, Eric) (Entered: 09/16/2015)
 09/16/2015       22 NOTICE of Entry of Appearance by David S. Chipman on behalf of Columbine
                       Chiropractic Plan, LLC (Chipman, David) (Entered: 09/16/2015)
 09/16/2015       23   MOTION to Withdraw as Attorney ofRecord by Defendant Columbine
                       Chiropractic Plan, LLC. (Benenson, Richard) (Entered: 09/16/2015)
 09/18/2015       24   MINUTE ORDER. The Court, having reviewed the Motion to Withdraw as
                       Attorneys of Record 23 , GRANTS the Motion. Given that representation of



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                      Defendant Columbine Chiropractic Plan, LLC, will continue through Messrs.
                      Chipman and Seese, Attorneys Richard B. Benenson and Kerry Jean LeMonte
                      are authorized to WITHDRAW as counsel. Attorney Richard B. Benenson and
                      Attorney Kerry Jean LeMonte SHALL be REMOVED from future electronic
                      notifications in this case. Entered by Judge John L. Kane on 09/18/15. Text
                      Only EntryGhawk,) (Entered: 09/18/2015)

  09/22/2015     25   NOTICE of Entry of Appearance by Edwin Packard Aro on behalf of Cigna
                      Corporation, Cigna Health and Life Insurance Company, Connecticut General
                      Life Insurance CompanyAttorney Edwin Packard Aro added to party Cigna
                      Corporation(pty:dft), Attorney Edwin Packard Aro added to party Cigna Health
                      and Life Insurance Company(pty:dft), Attorney Edwin Packard Aro added to
                      party Connecticut General Life Insurance Company(pty:dft) (Aro, Edwin)
                      (Entered: 09/22/2015)
  09/28/2015     26   MOTION to Withdraw as Attorney of Record by Defendants Cigna
                      Corporation, Cigna Health and Life Insurance Company, Connecticut General
                      Life Insurance Company. (West, Jerad) (Entered: 09/28/2015)

  09/29/2015     27   MINUTE ORDER GRANTING Motion to Withdraw as Attorneys of Record
                      26 . Given that representation of the Cigna Defendants will continue through
                      attorneys from Kirkland & Ellis, LLP, and Arnold & Porter, LLP, Attorneys
                      Lelia Kathleen Chaney and Jerad A. West are authorized to WITHDRAW as
                      counsel. Mr. West and Ms. Chaney SHALL be REMOVED from future
                      electronic notifications in this case. Entered by Judge John L. Kane on
                      09/29/15. Text Only EntryGhawk,) (Entered: 09/29/2015)

  10/05/2015     28   MOTION to Dismiss Plaintiffs' Complaint by Defendants Cigna Corporation,
                      Cigna Health and Life Insurance Company, Connecticut General Life Insurance
                      Company. (Haskel, Warren) (Entered: 10/05/2015)

  10/05/2015     2.2 DECLARATION of Carrie J Bodner regarding MOTION to Dismiss
                      Plaintiffs' Complaint 28 by Defendants Cigna Corporation, Cigna Health and
                      Life Insurance Company, Connecticut General Life Insurance Company.
                      (Attachments:# l Exhibit 1, # 2 Exhibit 2, # J Exhibit 3, #~Exhibit 4, # ~
                      Exhibit 5, # f! Exhibit 6)(Haskel, Warren) (Entered: 10/05/2015)
 10/05/2015      30   NOTICE OF CASE ASSOCIATION by Warren Haskel on behalf of Cigna
                      Corporation, Cigna Health and Life Insurance Company, Connecticut General
                      Life Insurance Company (Haskel, Warren) (Entered: 10/05/2015)
 10/05/2015      31   MOTION to Dismiss for Failure to State a Claim by Defendant Columbine
                      Chiropractic Plan, LLC. (Chipman, David) (Entered: 10/05/2015)
 10/26/2015      32   AMENDED COMPLAINT against Cigna Corporation, Cigna Health and Life
                      Insurance Company, Columbine Chiropractic Plan, LLC, Connecticut General
                      Life Insurance Company, American Specialty Health Incorporated, American
                      Specialty Health Group, Inc. Attorney Jason Matthew Knott added to party
                      Carol A. Lietz(pty:pla), filed by Barbara Fayeulle, Matthew Gentrup, Carol A.
                      Lietz. (Attachments: # l Summons American Specialty Health Incorporated, #
                      2 Summons American Specialty Health Group, Inc.)(Knott, Jason) (Entered:
                      10/26/2015)




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  10/26/2015     _.,,., _,,.,   NOTICE of Filing Amended Pleading re 32 Amended Complaint,, by Plaintiffs
                                Barbara Fayeulle, Matthew Gentrup, Carol A. Lietz (Attachments: # l Exhibit
                                1)(Knott, Jason) (Entered: 10/26/2015)
  10/27/2015     34             SUMMONS issued by Clerk. (Attachments:# l Summons) Ghawk,) (Entered:
                                10/27/2015)
  11/09/2015     35             BRIEF in Opposition to 31 MOTION to Dismiss for Failure to State a Claim,
                                28 MOTION to Dismiss Plaintiffs' Complaint filed by Plaintiffs Barbara
                                Fayeulle, Matthew Gentrup, Carol A. Lietz. (Knott, Jason) (Entered:
                                11/09/2015)

  11/10/2015     36             AMENDED COMPLAINT (Second) against American Specialty Health
                                Group, Inc., American Specialty Health Incorporated, Cigna Corporation,
                                Cigna Health and Life Insurance Company, Columbine Chiropractic Plan, LLC,
                                Connecticut General Life Insurance Company, filed by Carol A. Lietz, Matthew
                                Gentrup, Barbara Fayeulle.(Knott, Jason) (Entered: 11/10/2015)
  11/10/2015     37             NOTICE of Filing Amended Pleading re 36 Amended Complaint, by Plaintiffs
                                Barbara Fayeulle, Matthew Gentrup, Carol A. Lietz (Attachments: # l Exhibit
                                l)(Knott, Jason) (Entered: 11/10/2015)
  11/10/2015     38             Joint MOTION for Extension of Time to File Answer or Otherwise Respond re
                                36 Amended Complaint, and Stipulation to Filing ofSecond Amended
                                Complaint, by Plaintiffs Barbara Fayeulle, Matthew Gentrup, Carol A. Lietz.
                                (Knott, Jason) (Entered: 11110/2015)
  11/10/2015     39             MINUTE ORDER. The parties' Joint Motion for Entry of a Briefing Schedule
                                38 is GRANTED. Defendants shall have up to and including Thursday, January
                                14, 2016, to answer or otherwise respond to Plaintiffs Second Amended
                                Complaint (Doc. 36). Should any Defendant file a motion to dismiss, Plaintiffs
                                opposition(s) shall be due on or before Thursday, February 25, 2016, and any
                                replies by Defendants shall be due on or before Monday, March 28, 2016.
                                Entered by Judge John L. Kane on 11110115. Text Only EntryGhawk,)
                                (Entered: 11/10/2015)
 11116/2015      40             SUMMONS Returned Executed by Carol A. Lietz, Matthew Gentrup, Barbara
                                Fayeulle. American Specialty Health Group, Inc. served on 11/6/2015, answer
                                due 11127/2015. (Knott, Jason) (Entered: 11/16/2015)
 11/16/2015      :il SUMMONS Returned Executed by Carol A. Lietz, Matthew Gentrup, Barbara
                                Fayeulle. American Specialty Health Incorporated served on 11/4/2015, answer
                                due 11125/2015. (Knott, Jason) (Entered: 11/16/2015)
 12/17/2015      42             NOTICE of Entry of Appearance by Zachariah J. DeMeola on behalf of
                                American Specialty Health Group, Inc., American Specialty Health
                                IncorporatedAttorney Zachariah J. DeMeola added to party American Specialty
                                Health Group, Inc.(pty:dft), Attorney Zachariah J. DeMeola added to party
                                American Specialty Health Incorporated(pty:dft) (DeMeola, Zachariah)
                                (Entered: 12/17/2015)
 12/17/2015      43             CORPORATE DISCLOSURE STATEMENT identifying Corporate Parent
                                American Specialty Health Incorporated for American Specialty Health Group,




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                      Inc .. (DeMeola, Zachariah) (Entered: 12/17/2015)
  12/17/2015     44   NOTICE of Entry of Appearance by Elizabeth D. Mann on behalf of American
                      Specialty Health Group, Inc., American Specialty Health IncorporatedAttomey
                      Elizabeth D. Mann added to party American Specialty Health Group, Inc.
                      (pty:dft), Attorney Elizabeth D. Mann added to party American Specialty
                      Health Incorporated(pty:dft) (Attachments:# l Exhibit)(Mann, Elizabeth)
                      (Entered: 12/17/2015)
  12/17/2015     45   NOTICE of Entry of Appearance by Andrew Z. Edelstein on behalf of
                      American Specialty Health Group, Inc., American Specialty Health
                      IncorporatedAttomey Andrew Z. Edelstein added to party American Specialty
                      Health Group, Inc.(pty:dft), Attorney Andrew Z. Edelstein added to party
                      American Specialty Health Incorporated(pty:dft) (Attachments: # l Exhibit)
                      (Edelstein, Andrew) (Entered: 12/17/2015)
  01/14/2016     46   MOTION to Dismiss Plaintiffs' Second Amended Complaint by Defendants
                      Cigna Corporation, Cigna Health and Life Insurance Company, Connecticut
                      General Life Insurance Company. (Haskel, Warren) (Entered: 01/14/2016)

  01/14/2016     47   DECLARATION of Carrie J Bodner regarding MOTION to Dismiss
                      Plaintiffs' Second Amended Complaint 46 by Defendants Cigna Corporation,
                      Cigna Health and Life Insurance Company, Connecticut General Life Insurance
                      Company. (Attachments:# l Exhibit 1, # 2 Exhibit 2, # .3. Exhibit 3, #:!:Exhibit
                      4, # 2 Exhibit 5, #.§Exhibit 6, # 7_ Exhibit ?)(Haskel, Warren) (Entered:
                      01/14/2016)
 01114/2016      48   MOTION to Dismiss Second Amended Class Action Complaint and Joinder in
                      Cigna '.s Motion to Dismiss by Defendants American Specialty Health Group,
                      Inc., American Specialty Health Incorporated. (Mann, Elizabeth) (Entered:
                      01/14/2016)
 01/14/2016      49   MOTION to Dismiss Second Amended Complaint by Defendant Columbine
                      Chiropractic Plan, LLC. (Chipman, David) (Entered: 01/14/2016)
 01/21/2016      50   CORPORATE DISCLOSURE STATEMENT. (Seese, Eric) (Entered:
                      01/21/2016)
 02/25/2016      51   BRIEF in Opposition to 46 MOTION to Dismiss Plaintiffs' Second Amended
                      Complaint filed by Plaintiffs Barbara Fayeulle, Matthew Gentrup, Carol A.
                      Lietz. (Knott, Jason) (Entered: 02/25/2016)
 02/25/2016      52   BRIEF in Opposition to 48 MOTION to Dismiss Second Amended Class Action
                      Complaint and Joinder in Cigna's Motion to Dismiss, 49 MOTION to Dismiss
                      Second Amended Complaint filed by Plaintiffs Barbara Fayeulle, Matthew
                      Gentrup, Carol A. Lietz. (Knott, Jason) (Entered: 02/25/2016)
 03/28/2016      53   REPLY to Response to 48 MOTION to Dismiss Second Amended Class Action
                      Complaint and Joinder in Cigna's Motion to Dismiss filed by Defendants
                      American Specialty Health Group, Inc., American Specialty Health
                      Incorporated. (Mann, Elizabeth) (Entered: 03/28/2016)
 03/28/2016      54   REPLY to Response to 46 MOTION to Dismiss Plaintiffs' Second Amended
                      Complaint filed by Defendants Cigna Corporation, Cigna Health and Life



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                          Insurance Company, Connecticut General Life Insurance Company. (Haskel,
                          Warren) (Entered: 03/28/2016)

                         DECLARATION of Susan L. Lawson regarding Reply to Response to Motion
  03/28/2016
                  ""
                  ="'-
                         54 by Defendants Cigna Corporation, Cigna Health and Life Insurance
                         Company, Connecticut General Life Insurance Company. (Haskel, Warren)
                         (Entered: 03/28/2016)
  03/28/2016      56     DECLARATION of Tara M Lenaburg regarding Reply to Response to Motion
                         54 by Defendants Cigna Corporation, Cigna Health and Life Insurance
                         Company, Connecticut General Life Insurance Company. (Haskel, Warren)
                         (Entered: 03/28/2016)
  03/28/2016      57     DECLARATION of David H Venable Sr. regarding Reply to Response to
                         Motion 54 by Defendants Cigna Corporation, Cigna Health and Life Insurance
                         Company, Connecticut General Life Insurance Company. (Haskel, Warren)
                         (Entered: 03/28/2016)

  03/28/2016      58     REPLY to Response to 49 MOTION to Dismiss Second Amended Complaint
                         filed by Defendant Columbine Chiropractic Plan, LLC. (Chipman, David)
                         (Entered: 03/28/2016)
  06/29/2016     59      Memorandum Opinion and Order on Motions to Dismiss. For the reasons given
                         above, Defendants Motions to Dismiss (Docs. 46 , 48 , & 49 ) are GRANTED
                         IN PART and DENIED IN PART as discussed herein. In light of the filing of
                         the SAC, the earlier motions to dismiss filed by Cigna and Columbine (Docs.
                         28 & 31 ) are DENIED AS MOOT. In particular, Counts I, II & III are
                         dismissed in their entirety. Plaintiffs Fayeulle and Gentrup and Defendant
                         Columbine are dismissed as parties to this action. Plaintiff Lietz may pursue a
                         ERISA claim for benefits under §502(a)(l)(B) against the remaining
                         Defendants (Count IV). Signed by Judge John L. Kane on 06/29/16.Ghawk,)
                         (Entered: 06/29/2016)
 07/12/2016      60      Joint MOTION for Extension of Time to File Answer or Otherwise Respond re
                         36 Amended Complaint, by Defendants Cigna Corporation, Cigna Health and
                         Life Insurance Company, Connecticut General Life Insurance Company.
                         (Attachments:# 1 Proposed Order (PDF Only))(Haskel, Warren) (Entered:
                         07 /12/2016)

 07/12/2016      61      ORDER granting 60 Motion for Extension of Time to Answer or Otherwise
                         Respond to the Amended Complaint. Defendants shall file their respective
                         responses to Plaintiffs complaint on or before July 22, 2016. Signed by Judge
                         John L. Kane on 07/12/16.Ghawk,) (Entered: 07112/2016)
 07/21/2016      62      Joint MOTION to Change Venue by Defendants Cigna Corporation, Cigna
                         Health and Life Insurance Company, Connecticut General Life Insurance
                         Company. (Attachments:# l Proposed Order (PDF Only))(Haskel, Warren)
                         (Entered: 07/21/2016)
 07/21/2016      63      ORDER granting 62 Motion to Change Venue. The Clerk of the Court shall
                         transfer this case to the United States District Court for the Eastern District of
                         Pennsylvania to be associated with American Chiropractic Association, et al. v.
                         Connecticut General Life Insurance Co., et al., 12-cv- 7243 (E.D. Pa.). Signed



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                           by Judge John L. Kane on 07/21/2016.(athom,) (Entered: 07/21/2016)
  07/22/2016      64       Interdistrict Transmittal of Documents via e-mail to the United States District
                           Court for the Eastern District of Pennsylvania at
                           InterdistrictTransfer_PAED@paed.uscourts.gov. Text Only Entry (emare,)
                           (Entered: 07/22/2016)



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     assignment to appropriate calendar.

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     Address ofDefendant:_-1-/...ll<!h~~~.i...:~-=-===.=..=~__,,,S!...f.-i-+-,- 'lzL. . Jft,.,t. . =L.J. -1. :. L4,~,JL_f_,_rt-L--LJ-L1_,_f~1"---"~'--------
     Place of Accident, Incident or Transaction: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                    (Use Reverse Side For Additional Space)

     Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?
          (Attach two copies of the Disclosure Statement Form in accordance                                                                         YesD      No

                                  ultidistrict litigation possibilities?
     RELATEDC



     Civil case are deemed related when yes is answered to any of the following questions:
                                                                                                                                                 'l/i~l
     I.                                                                                                          ar previously terminated action itl this court?
                                                                                                                                                        YesD      NoD
     2.                                               Ta<Ot1in'l"n'ON>ttt-ffl!th<,->rnifffie'1trtraansaction as a prior suit pending or within one year previously terminated
          action in this court?
                                                                                                                                     YesD       NoD
     3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
          terminated action in this court?                                                                                                          YesD        NoD


     4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                                    YesD        NoD

    CNIL: (Place      t/ in ONE CATEGORY ONLY)
    A.     Federal Question Cases:                                                                                      B. Diversity Jurisdiction Cases:
      1. o Indemnity Contract, Marine Contract, and All Other Contracts                                                 1.   D   Insurance Contract and Other Contracts
     2. o FELA                                                                                                          2.   D   Airplane Personal Injury
     3.     D   Jones Act-Personal Injury                                                                               3.   D   Assault, Defamation
     4. o Antitrust                                                                                                     4.   D   Marine Personal Injury
     5.    D    Patent                                                                                                  5.   D   Motor Vehicle Personal Injury
     6.    D    Labor-Management Relations                                                                              6.   D   Other Personal Injury (Please specify)
     7.    D    Civil Rights                                                                                            7.   D   Products bability
     8.    D    Habeas Corpus                                                                                           8.   D   Products Liability -          Asbestos
     9.    D    Securities Act(s) Cases                                                                                 9.   D   All other    D~versity     Cases
    10. o Social Security Review Cases                                                                                           (Please specify)
    11.    XAll other Federal Q:15stion Cases
          ( \(Please specify) _ _£_,___,_)_L-_-=O'------------
                                                                           ARBITRATION CERTIFICATION
                                         (Check Appropriate Category)
    !,,______________________, counsel of record do hereby certify:
       D Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
    $150,000.00 exclusive of interest and costs;
       D Relief other than monetary damages is sought.


    DATE: _ _ _ _ _ _ _ _ __
                                                                Attorney-at-Law                                                          Attorney I.D.#
                                               NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

    I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
    except as noted above.

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~   DATE:
CN. 609 (5/2012)
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                                UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                       CASE MANAGEMENT TRACK DESIGNATION FORM
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                   C   ')I\.(;. C" r I'"~~ J ~c::v\...               ,      NO.
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                               ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                    ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.        ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                             ( )

(e) Special Management- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.




Date        /      1
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Telephone                          FAX Number                            E-Mail Address


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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 15-cv-01581-JLK

CAROL A. LIETZ, on behalf of herself and all others similarly situJcf.J            396'7
        Plaintiffs,
v.
CIGNA CORPORATION,
CONNECTICUT GENERAL LIFE INSURANCE COMPANY,
CIGNA HEALTH AND LIFE INSURANCE COMPANY,
AMERICAN SPECIALTY HEALTH INCORPORATED,
AMERICAN SPECIALTY HEALTH GROUP, INC.,

          Defendants.



                                   ORDER GRANTING
                           JOINT MOTION TO TRANSFER VENUE


        Pending before the Court is the parties' Joint Motion to Transfer Venue pursuant to

28 U.S.C. § 1404(a) to the United States District Court for the Eastern District of

Pennsylvania. The instant motion indicates that all parties to this action consent to the

transfer, the remaining claim in this action had originally been filed in the Eastern

District of Pennsylvania, that Defendants either reside in the Eastern District of

Pennsylvania or conduct significant business there, that many witnesses are located there

or within close proximity and none are likely to be located in Colorado, and the parties'

ability to coordinate discovery between this action and American Chiropractic Association, et

al. v. Connecticut General Life Insurance Co., et al., 12-cv-7243 (E.D. Pa.) will preserve

judicial resources, as the parties (who share legal counsel in both cases) indicate that both
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                                Document   1 07/21/16  USDC Colorado
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cases involve the relationship between Defendants Cigna Corporation, Connecticut General

Life Insurance Company, and Cigna Health and Life Insurance Company on one hand

and Defendants American Specialty Health Incorporated and American Specialty Health

Group, Inc. on the other. As such, the Court finds that the case might have been brought in

the Eastern District of Pennsylvania, and the competing equities weigh heavily in favor of

transfer. The Court further finds that the parties have satisfied their burden to establish that

the existing forum is inconvenient. The Court accordingly GRANTS the joint motion (Doc.

62).

       Accordingly, the Clerk of the Court shall transfer this case to the United States

District Court for the Eastern District of Pennsylvania to be associated with American

Chiropractic Association, et al. v. Connecticut General Life Insurance Co., et al., 12-cv-

7243 (E.D. Pa.).

IT IS SO ORDERED.

DATED July 21, 2016


                                                L.KANE
                                              IOR U.S. DIS1RICT JUDGE
